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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
  vs.                                             §            Case No. 4:03cr84
                                                  §            (Judge Schell)
 JASON REX WEAVER (12)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 8, 2012, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Maureen Smith.

        On January 5, 2004, Defendant was sentenced by the Honorable Richard A. Schell to one

 hundred and twenty (120) months’ custody followed by five (5) years of supervised release for the

 offense of Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or

 Dispense Methamphetamine. After a downward departure, Defendant was re-sentenced to eighty (80)

 months’ custody followed by five (5) years supervised release. On April 2, 2010, Defendant

 completed his period of imprisonment and began service of his supervised term.

        On July 25, 2012, the U.S. Probation Officer executed a Second Amended Petition for

 Warrant for Offender Under Supervision. The petition asserted that Defendant violated various

 mandatory, standard, and special conditions. Violation allegations one, two, three, six, seven, and

 eight were dismissed by the Government. The petition also alleged violation of the following

 additional mandatory conditions: (1) the defendant shall not commit another federal, state, or local

 crime; and (2) the defendant shall refrain from any unlawful use of a controlled substance.
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            The petition alleges that Defendant committed the following acts with regard to the

     remaining violations: (1) On May 6, 2012, Defendant was arrested by the Sanger, Texas, Police

     Department for the offense of Unauthorized Use of a Vehicle; and (2) On November 29, 2011,

     Defendant submitted a urine specimen at the U.S. Probation Officer, Plano, Texas, which confirmed

     positive for D-Methamphetamine 95%. Additionally, on that date, Defendant admitted in writing

     to using methamphetamine for five consecutive days in October 2011.

            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violations.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of eighteen (18) months, to be

     served consecutively to any sentence of imprisonment that the Defendant is serving, with no

.    supervised release to follow.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
           SIGNED this 8th day of November, 2012.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
